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UNlTED STATES OF AMER|CA RWU§TM
Plaintiff W 0.’~' itt swiss
VS.
CR. NO. 05-20216-D
TERRANCE LEONARD
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 21, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request land reset the trial date to October 3, 2005 with a

report date of Thursday, September 22l 2005l at 9:00 a.m., in Courtroom 3 9th Floor

of the Federal Bui|ding, Memphis, TN.

 

The period from July 21, 2005 through October 14, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

n is so oRDERED this @2)" day of Ju¢y, 2005.

§RN|CE B. £NALD

UNlTED STATES D|STR}CT JUDGE

This document entered on the dockets
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This notice confirms a copy of the document docketed as number 16 in
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ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

